                     Case
                      Case1:25-cv-04835-LJL
                            1:25-cv-04835 Document
                                            Document
                                                   4 5 Filed
                                                          Filed
                                                              06/09/25
                                                                06/10/25 Page
                                                                           Page
                                                                              1 of
                                                                                1 of
                                                                                   2 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                      Southern District
                                                    __________  DistrictofofNew York
                                                                             __________

                                                                     )
                      PATRICK AUSTIN                                 )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                          Civil Action No.
                                                                     )
     IL COMMENDATORE RESTAURANT INC.                                 )
d/b/a CASA BELLA and 182 HESTER STREET LLC,                          )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) IL COMMENDATORE RESTAURANT INC. d/b/a CASA BELLA
                                           C/O ADELE GALLO
                                           127A MULBERRY STREET
                                           NEW YORK, NY, 10013




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Gabriel A. Levy, Esq.
                                           Gabriel A. Levy, P.C.
                                           1129 Northern Blvd, Ste 404
                                           Manhasset, New York 11030
                                           Glevy@glpcfirm.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:             06/10/2025                                                                      /s/ P. Canales
                                                                                          Signature of Clerk or Deputy Clerk
                       Case
                        Case1:25-cv-04835-LJL
                              1:25-cv-04835 Document
                                              Document
                                                     4 5 Filed
                                                            Filed
                                                                06/09/25
                                                                  06/10/25 Page
                                                                             Page
                                                                                2 of
                                                                                  2 of
                                                                                     2 2

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
